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12   (incorrectly named as Vigilant Solutions, Inc.)

13

14                               UNITED STATES DISTRICT COURT

15                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

16

17   BRIAN HOFER and JONATHAN HOFER,                    Case No. 3:19-cv-02205-JSC

18                         Plaintiffs,                  DEFENDANT VIGILANT SOLUTIONS’
                                                        NOTICE OF MOTION AND MOTION
19          v.                                          TO DISMISS AMENDED COMPLAINT;
                                                        MEMORANDUM OF POINTS AND
20   KYLE EMLEY, et al.,                                AUTHORITIES IN SUPPORT THEREOF

21                         Defendants.                  Date:       September 12, 2019
                                                        Time:       9:00 a.m.
22                                                      Location:   Courtroom F, 15th Floor
                                                        Judge:      Hon. Jacqueline Scott Corley
23
                                                        Amended Complaint filed July 22, 2019
24

25

26   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
27          NOTICE IS HEREBY GIVEN that on September 12, 2019, at 9:00 a.m., or as soon

28   thereafter as the matter can be heard before United States Magistrate Judge Jacqueline Scott

     VIGILANT SOLUTIONS’ MOTION TO DISMISS AMENDED COMPLAINT;
     MEMO. OF POINTS & AUTHORITIES – Case No. 3:19-cv-02205-JSC                                 -1-
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 1   Corley in Courtroom F, 15th Floor, 450 Golden Gate Avenue, San Francisco, California 94102,

 2   Defendant Vigilant Solutions, LLC (“Vigilant”), will and hereby does move the Court for an order

 3   dismissing the Amended Complaint of Plaintiffs Brian Hofer and Jonathan Hofer against Vigilant

 4   for failure to state a claim upon which relief can be granted under Federal Rule of Civil

 5   Procedure 12(b)(6).

 6          This motion is based on this Notice of Motion and Motion, the accompanying Memoran-

 7   dum of Points and Authorities, the Proposed Order filed with this Motion, as well as the record

 8   in this case and any matters presented to the Court at the time of hearing.

 9

10   Dated: August 5, 2019                           Respectfully submitted,
11                                                   KILPATRICK TOWNSEND & STOCKTON LLP
12

13                                                   By:               /s/ Holly Gaudreau
                                                                           Holly Gaudreau
14
                                                     Attorneys for Defendant
15                                                   VIGILANT SOLUTIONS, LLC
                                                     (incorrectly named as Vigilant Solutions, Inc.)
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     VIGILANT SOLUTIONS’ MOTION TO DISMISS AMENDED COMPLAINT;
     MEMO. OF POINTS & AUTHORITIES – Case No. 3:19-cv-02205-JSC                                  -2-
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.      STATEMENT OF ISSUES TO BE DECIDED

 3           1.      Whether the Amended Complaint fails to allege facts demonstrating either a duty

 4   or breach by Vigilant Solutions, LLC (“Vigilant”).

 5           2.      Whether the Amended Complaint fails to allege facts demonstrating that the

 6   claimed damages were proximately caused by any alleged breach by Vigilant.

 7   II.     INTRODUCTION

 8           Plaintiffs’ sole claim against Vigilant is for common law negligence. Vigilant moved

 9   to dismiss (Doc. 12) Plaintiffs’ Original Complaint (Doc. 1) because Plaintiffs’ claim was based

10   on conclusory and implausible assertions and failed under a proper application of the standards

11   announced by the Supreme Court in Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007), and

12   Ashcroft v. Iqbal, 556 U.S. 662 (2009), and decisions of the Ninth Circuit and this Court interpret-

13   ing them. Plaintiffs amended their Complaint on July 22, 2019 (Doc. 38), presumably at least in

14   part to address the pleading deficiencies identified in Vigilant’s original motion.

15           With regard to the existence or breach of a duty by Vigilant, Plaintiff’s Amended

16   Complaint offers no new factual allegations as to Vigilant that would satisfy Twombly and Iqbal.

17   In its original motion, Vigilant pointed out that Plaintiffs’ Original Complaint alleged that Vigilant

18   breached a duty to maintain accurate records of stolen vehicles (Orig. Compl. ¶ 79), but pleaded

19   no facts demonstrating either the existence or breach of such a duty by Vigilant. In fact, Plaintiffs

20   alleged in the Original Complaint that the San Jose Police Department failed to remove the vehicle

21   from the list of stolen vehicles after the vehicle was recovered (Orig. Compl. ¶ 51), and that

22   Defendant Getaround Inc. failed to notify the San Jose Police Department of the recovery. (Orig.

23   Compl. ¶ 54.)

24           The sole substantive change as to Vigilant in the Amended Complaint is an allegation

25   made in the alternative – and for which Plaintiffs candidly suggest they have absolutely no factual

26   support – that the San Jose Police Department reported the car to be recovered or not stolen in a

27   manner that notified Vigilant it should not be on the stolen vehicle list. (Am. Compl. ¶ 62.) This

28   alternative allegation is made “consistent with ¶ 50” of the Amended Complaint, where Plaintiffs

     VIGILANT SOLUTIONS’ MOTION TO DISMISS AMENDED COMPLAINT;
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 1   suggest that they have received limited information about communications and reports among

 2   some of the Defendants, but have no idea about the accuracy or completeness of such information.

 3   A further review of the Amended Complaint reveals the “limited information” that Plaintiffs

 4   apparently received but cannot verify: “After the vehicle was recovered, the SAN JOSE police

 5   department apparently received some information provided on behalf of GETAROUND by text

 6   and telephone from someone requesting an incident report number that the car was either not, in

 7   fact, stolen or had been returned.” (Am. Compl. ¶ 55.) Plaintiffs do not similarly identify any

 8   text, telephone call, report, or other communication of any kind, verifiable or not, by which

 9   anyone claims to have notified Vigilant.

10           The factual allegations Plaintiffs proffer are conclusory and speculative, and on their face

11   show that Plaintiffs have not provided sufficient factual content to satisfy the plausibility require-

12   ments laid out by the Supreme Court in Twombly, 550 U.S. at 570 (2007), and Iqbal, 556 U.S. at

13   678.

14           Plaintiffs’ Amended Complaint does not allege any new facts regarding damages, and

15   Plaintiffs still do not allege any damages proximately caused by the alleged breach of such duty

16   by Vigilant. All of the claimed damages were caused by the allegedly excessive force and other

17   wrongful conduct of the Contra Costa Defendants after the ALPR system reported a hit. (Am.

18   Compl. ¶¶ 64-68.) Even if Vigilant had breached a duty to maintain accurate records of stolen

19   vehicles as alleged by Plaintiffs, Plaintiffs do not allege any facts demonstrating that the harm they

20   complain of was foreseeable or could have been prevented by Vigilant. Accordingly, dismissal is

21   appropriate.

22   III.    STATEMENT OF FACTS
23           Vigilant is a maker of automated license plate readers (“ALPR”) used by the Contra

24   Costa Sheriff’s Department. (Am. Compl. ¶ 10.) In addition to manufacturing ALPR equipment,

25   Vigilant provides ALPR services which include hosting the data. (Am. Compl. ¶ 52.) The hosted

26   data includes the license plates collected by the ALPR cameras and “hot lists” of vehicles

27   / / /

28   / / /

     VIGILANT SOLUTIONS’ MOTION TO DISMISS AMENDED COMPLAINT;
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 1   uploaded by law enforcement agencies into Vigilant’s database.1 A hot list is a list of license

 2   plates for vehicles that Vigilant’s law enforcement customers are looking for, whether because

 3   they were stolen or for any other law enforcement purpose. When a license plate that is scanned

 4   by an ALPR camera matches a license plate on a hot list in Vigilant’s database, Vigilant’s ALPR

 5   system delivers an alert to its law enforcement customers notifying them of the “hit.”

 6          In October 2018, Defendant Getaround, Inc. rented a vehicle to an unnamed driver. On

 7   October 20, 2018, that driver reported the vehicle stolen to the San Jose Police Department, and

 8   the San Jose Police Department placed the vehicle on a “hot list” of stolen vehicles that was

 9   “apparently … sent to ALPR vendors like Vigilant.” (Am. Compl. ¶ 54.)

10          The vehicle was thereafter recovered, and Getaround apparently claims to have notified

11   the San Jose Police Department by text and/or telephone, but Plaintiffs do not know whether

12   those claims are accurate or complete. (Am. Compl. ¶ 55.) After the vehicle was recovered, the

13   San Jose Police Department failed to remove the vehicle from the hot list.2 (Am. Compl. ¶ 56.)

14   Although the Amended Complaint alleges, in the alternative, that the San Jose Police Department

15   did somehow notify Vigilant that the car should not be on its stolen vehicle list, the Amended

16          1
               The contents of the stolen vehicle hot list are controlled by the California Department
     of Justice (CDOJ) based on data made available to the CDOJ from the FBI’s clearinghouse of
17   national crime data, the National Crime Information Center, or NCIC. See https://www.fbi.gov/
     services/cjis/ncic (NCIC website) and https://oag.ca.gov/sites/oag.ca.gov/files/clets-ppp-
18   030818_0.pdf (CDOJ website containing Policies, Practices and Procedures for California Law
     Enforcement Telecommunications System (“CDOJ Policies”). The Court may take judicial notice
19   of the FBI’s NCIC website and the CDOJ Policies available on the CDOJ website explaining how
     the stolen vehicle hot list is created, maintained, modified, and used. See Jones v. United States,
20   Nos. CV-F-06-724 OWW, CR-F-04-5073 OWW, 2009 WL 425021, at *1 (E.D. Cal. 2009)
     (taking judicial notice of FBP website evidencing petitioner’s place of incarceration); Fed. R.
21   Evid. 201(b) (court may take judicial notice of facts that are “capable of accurate and ready
     determination by resort to sources whose accuracy cannot reasonably be questioned.”)
22
              As explained on the NCIC website, criminal justice agencies enter records into the NCIC
23   database that are accessible to law enforcement agencies nationwide, including a “Vehicle File”
     containing “[r]ecords on stolen vehicles, vehicles involved in the commission of crimes, or
24   vehicles that may be seized based on federally issued court order.” NCIC then makes that hot
     list information available to a single point of contact in each state, which in California is the
25   CDOJ, who in turn provides the hot list to the agencies in each state. See CDOJ Policies,
     pp. 44-45 (CDOJ is the California state department that maintain and operates the criminal
26   justice databases and acts as the NCIC terminal agency for California).
            2
27            Vigilant has no authority to remove vehicles from the hot list. As explained on the NCIC
     website: “The entry, modification, and removal of records are the responsibility of the agency that
28   entered them.”

     VIGILANT SOLUTIONS’ MOTION TO DISMISS AMENDED COMPLAINT;
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 1   Complaint admits that Plaintiffs have knowledge of no facts that would support such an allegation.

 2   (Am. Compl ¶¶ 62, 50.) Plaintiffs at no time – in the Original Complaint, the Amended

 3   Complaint, or otherwise – have alleged that anyone has provided them with any evidence or

 4   indication that anyone told Vigilant the stolen car had been recovered.

 5           Plaintiffs thereafter rented the vehicle from Getaround on November 21, 2018. (Am.

 6   Compl. ¶ 15.) On November 25, Plaintiffs were stopped by a Contra Costa deputy sheriff (the

 7   individual Contra Costa deputy sheriffs and the County of Contra Costa hereafter referred to

 8   collectively as the “Contra Costa Defendants”) after the vehicle’s license plate was scanned by

 9   Contra Costa County’s ALPR camera and matched as a “hit” to the vehicle on the “hot list.”

10   (Am. Compl. ¶ 36.) Plaintiffs allege that after being stopped, they were subjected to excessive

11   force by the Contra Costa Defendants. (Am. Compl. ¶¶ 16-47.)

12           As damages, Plaintiffs allege that they suffered a deprivation of their liberty as a result of

13   their arrest by the Contra Costa Defendants, suffered severe emotional distress from having guns

14   pointed at them, being handcuffed and detained, and otherwise being subjected to excessive force

15   and treated like violent criminals. (Am. Compl. ¶¶ 64-65.) Plaintiffs also claim to have suffered

16   physical injuries from being thrown to the ground by the Contra Costa Defendants and acute

17   emotional trauma from witnessing the Contra Costa Defendants point a gun at their head. (Am.

18   Compl. ¶¶ 58-59.)

19   IV.     ARGUMENT
20           A.     Motion to Dismiss Standard.
21           Under Federal Rule of Civil Procedure 12(b)(6), a court may dismiss a complaint for

22   failure to state a claim upon which relief can be granted. In considering a motion to dismiss for

23   failure to state a claim, “the court must accept as true the allegations of the complaint in question,

24   construe the pleading in the light most favorable to the party opposing the motion, and resolve

25   all doubts in the pleader’s favor.” Cargill, Inc. v. Budine, No. CV-F-07-349-LJO-SMS, 2007 WL

26   2506451, at *2 (E.D. Cal. Aug. 30, 2007) (citing Jenkins v. McKeithen, 395 U.S. 411, 421 (1969);

27   Hosp. Bldg. Co. v. Trs. of Rex Hosp., 425 U.S. 738, 740 (1976)).

28   / / /

     VIGILANT SOLUTIONS’ MOTION TO DISMISS AMENDED COMPLAINT;
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 1          Although courts assume the facts alleged as true, courts do not “assume the truth of legal

 2   conclusions merely because they are cast in the form of factual allegations.” Cargill, 2007 WL

 3   2506451, at *2; Western Mining Council v. Watt, 643 F.2d 618, 624 (9th Cir. 1981). “While a

 4   complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed factual allegations,

 5   a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitlement to relief’ requires more than

 6   labels and conclusions, and a formulaic recitation of the elements of a cause of action will not do.”

 7   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (internal citations omitted).

 8          The Supreme Court reaffirmed this standard in Iqbal by demanding “more than an

 9   unadorned, the-defendant-unlawfully-harmed-me accusation.” 556 U.S. at 678 (citations omitted).

10   “Threadbare recitals of the elements of a cause of action, supported by mere conclusory state-

11   ments, do not suffice.” Id. “[O]nly a complaint that states a plausible claim for relief survives a

12   motion to dismiss.” Id. at 679. Because it does not set forth a factual basis for its myriad allega-

13   tions of wrongdoing, Plaintiffs’ Complaint fails to state any actionable claims. Consequently,

14   Plaintiffs’ Complaint should be dismissed in its entirety.

15          Although “a complaint need not contain detailed factual allegations,” Clemens v.

16   DaimlerChrysler Corp., 534 F.3d 1017, 1022 (9th Cir. 2008), the Court should not assume that

17   the plaintiff can prove facts different from those alleged in the complaint. See Associated Gen.

18   Contractors of Cal. v. Cal. State Council of Carpenters, 459 U.S. 519, 526 (1983); Jack Russell

19   Terrier Network of N. Cal. v. Am. Kennel Club, Inc., 407 F.3d 1027, 1035 (9th Cir. 2005). “To

20   survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted as true,

21   to ‘state a claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at 678 (citing Twombly,

22   550 U.S. at 570). “A claim has facial plausibility when the plaintiff pleads factual content that

23   allows the court to draw the reasonable inference that the defendant is liable for the misconduct

24   alleged.” Iqbal, 556 U.S. at 678.

25          Factual conclusions that are “consistent with” a defendant’s liability do not satisfy

26   Twombly and Iqbal. The plausibility standard demands more than a “sheer possibility” that a

27   defendant has acted unlawfully, and when “a complaint pleads facts that are ‘merely consistent

28   with’ a defendant’s liability, it stops short of the line between possibility and plausibility of

     VIGILANT SOLUTIONS’ MOTION TO DISMISS AMENDED COMPLAINT;
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 1   entitlement to relief.” Id. (internal quotes omitted). See Landers v. Quality Commc’ns, Inc., 771

 2   F.3d 638, 641 (9th Cir. 2014), as amended (Jan. 26, 2015), cert. denied, 135 S. Ct. 1845 (2015)

 3   (“In keeping with Twombly, the Supreme Court held in Iqbal that ‘[w]here a complaint pleads

 4   facts that are merely consistent with a defendant’s liability, it stops short of the line between

 5   possibility and plausibility of entitlement to relief.’”); Eberhard v. California Highway Patrol,

 6   73 F. Supp. 3d 1122, 1127 (N.D. Cal. 2014) (“But allegations that are merely consistent with

 7   a claim to relief are precisely what Iqbal found wanting.”) (emphasis in original).

 8          B.      Plaintiffs’ Negligence Claim Against Vigilant Fails Because the Complaint
                    Fails to Allege Facts Demonstrating Either a Duty or a Breach by Vigilant.
 9

10          The elements of actionable negligence under California law are: (1) a legal duty to use due

11   care; (2) a breach of that duty; (3) causation; and (4) damages. Coppola v. Smith, 935 F. Supp. 2d

12   993, 1013 (E.D. Cal. 2013).

13          The sole allegation against Vigilant is that Vigilant somehow had a duty to update a hot

14   list of stolen vehicles in its database to remove the vehicle rented by Plaintiffs from that list, even

15   though Plaintiffs concede that no one provided that information to Vigilant. Plaintiffs do not

16   allege that the ALPR system operated incorrectly. Indeed the Complaint suggests that the ALPR

17   system operated exactly as it is supposed to operate: a license plate was scanned by the ALPR

18   camera used by the Contra Costa Defendants, that license plate was correctly matched to a license

19   plate on the stolen vehicle hot list, and an alert was delivered to the Contra Costa Defendants who

20   had scanned the license plate.

21          Plaintiffs allege that Getaround failed to notify the San Jose Police Department that the

22   vehicle had been recovered, and that the San Jose Police Department failed to remove the vehicle

23   from the hot list of stolen vehicles. While Plaintiffs allege in the Amended Complaint, in the

24   alternative, that the San Jose Police Department reported that the vehicle was actually not stolen

25   or had been recovered in a manner that notified Vigilant that the car should not be on its stolen

26   vehicle list, what they do not allege is that anyone told Vigilant that the vehicle had been

27   recovered, and the Complaint fails to allege a single fact that Vigilant either knew or even

28   could have known that the vehicle had been recovered.

     VIGILANT SOLUTIONS’ MOTION TO DISMISS AMENDED COMPLAINT;
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 1          The existence of a legal duty is an essential element of a cause of action for negligence.

 2   MH Pillars Ltd. v. Realini, No. 15-CV-1383-PJH, 2017 WL 916414, at *5 (N.D. Cal. Mar. 8,

 3   2017). “Whether this prerequisite has been satisfied in a particular case is a question of law to be

 4   resolved by the court.” Id. (citing Avila v. Citrus Cmty. Coll. Dist., 38 Cal. 4th 148, 161 (2006)).

 5   A duty of care may arise “through statute, contract, the general character of the activity, or the

 6   relationship between the parties.” MH Pillars Ltd., 2017 WL 916414, at *5 (citing The Ratcliff

 7   Architects v. Vanir Constr. Mgmt., Inc., 88 Cal. App. 4th 595, 604-05 (2001); J’Aire Corp. v.

 8   Gregory, 24 Cal. 3d 799, 803 (1979)). See also Jacobsen v. Marin Gen. Hosp., 192 F.3d 881, 885

 9   (9th Cir. 1999) (“A duty in tort owing from a defendant to a plaintiff can be created by law, by a

10   defendant’s assumption of that duty, or by a preexisting relationship between the plaintiff and the

11   defendant.”).

12          Ninth Circuit case law holds that the existence of a duty as well as the foreseeability

13   of harm are questions of law for the court alone. See First Interstate Bank of Arizona, N.A. v.

14   Murphy, Weir & Butler, 210 F.3d 983, 986-87 (9th Cir. 2000) (“The question of the existence of a

15   legal duty of care in a given factual situation presents a question of law which is to be determined

16   by the courts alone .… Foreseeability of harm, though not determinative, has become the chief

17   factor in duty analysis … [a]nd the foreseeability component of duty analysis is a legal issue ….”)

18   (citing Nymark v. Heart Fed. Savings & Loan Ass’n, 231 Cal. App. 3d 1089, 1095, 283 Cal. Rptr.

19   53 (1991)).

20          Plaintiffs’ Amended Complaint fails to allege any facts to support the contention that a

21   duty owed by Vigilant to Plaintiffs was created by any of these means. Similarly, Plaintiffs have

22   failed to allege any facts to show that the harm they complain of was foreseeable or could have

23   been prevented by Vigilant.3 Therefore, dismissal is appropriate.

24
            3
               As explained on the NCIC website, agencies are not permitted to take any action on a
25   “hit,” or a positive response, without first making contact with the entering agency and verifying
     that the information is accurate and up-to-date. See also CDOJ Policies, p. 24 (“Users must con-
26   firm the validity of the positive response on the record by contacting the entering agency prior to
     taking enforcement actions based solely on that record.”). Thus, even assuming Vigilant had the
27   authority and a duty to make changes to the hot list, it is not foreseeable that the failure to remove
     a vehicle from the hot list would lead to the damages claimed here since agencies cannot rely on
28   the hot list to take action without first verifying its accuracy.

     VIGILANT SOLUTIONS’ MOTION TO DISMISS AMENDED COMPLAINT;
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 1           C.       Plaintiffs’ Negligence Claim Against Vigilant Fails Because the Alleged
                      Damages Were Not Proximately Caused by the Alleged Breach.
 2

 3           To succeed on a negligence claim, a plaintiff must plead and prove facts demonstrating

 4   that its claimed damages were proximately caused by the defendant. See Soldano v. United States,

 5   318 F. App’x 599, 600 (9th Cir. 2009) (“To recover damages for negligence a plaintiff must prove

 6   that the defendant’s conduct was a proximate or legal cause of his injuries.”) (citing USAir Inc. v.

 7   U.S. Dep’t of Navy, 14 F.3d 1410, 1412-13 (9th Cir. 1994)).

 8           Plaintiffs have failed to assert facts to link the damages they claim to have suffered with

 9   the conduct of Vigilant. All of the alleged damages flow directly from and are the result of the

10   conduct of the Contra Costa Defendants, including arresting Plaintiffs, pointing guns at Plaintiffs,

11   handcuffing and detaining Plaintiffs, subjecting Plaintiffs to excessive force and treating them like

12   violent criminals, throwing Plaintiffs to the ground, and witnessing the Contra Costa Defendants

13   pointing guns at their heads. (Am. Compl. ¶¶ 64-68.) All the conduct that Plaintiffs claim caused

14   them injury and damage is conduct of the Contra Costa Defendants, and Plaintiffs plead no facts

15   demonstrating that such harm was either caused by, or foreseeable to, Vigilant. Twombly and Iqbal

16   require more specificity and detail than Plaintiffs have provided.

17   V.      CONCLUSION

18           Even if the allegations in the Amended Complaint are taken as true, Plaintiffs’ negligence

19   claim fails to satisfy the applicable standards set out in Twombly, Iqbal, and their progeny. For

20   the foregoing reasons, Vigilant respectfully requests that the Court grant the Motion and dismiss

21   Plaintiffs’ Amended Complaint with prejudice as to Vigilant.

22

23   Dated: August 5, 2019                            Respectfully submitted,

24                                                    KILPATRICK TOWNSEND & STOCKTON LLP

25
                                                      By:                 /s/ Holly Gaudreau
26                                                                            Holly Gaudreau
27                                                    Attorneys for Defendant
                                                      VIGILANT SOLUTIONS, LLC
28   15676615V.4 | 1139165


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